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Pro Se 2(Rev. 12/16)Complaint and Request for Injunction




                                      United States District Court
                                                                     for the

                                                           8th District of South Dakota


                                                                Western Division



                                                                               Case No.
        Black Hills Sioux Nation Treaty Council                                           (to befilled in by the Clerk's Office)
                         "see attached"
                             Plaintiff(s)
(Write thefull name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)
                                -V-




                Azarga Uranium Corporation
                           Defendant(sJ
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach an additional page
with thefull list ofnames.)



                                   COMPLAINT AND REQUEST FOR INJUNCTION


I.        The Parties to This Complaint
          A.        The Plaintifr(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.

                               Name                                 Floyd L, Hand
                               Street Address                       150 Redcloud Lane, PO Box ISO
                               City and County                      Pine Ridge, Oglala Lakota County
                               State and Zip Code                   South Dakota,57770
                               Telephone Number                     605-454-1868
                               E-mail Address



          B.        The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency,an organization, or a corporation. For an individual defendmit,
                    include the person'sjob or title (ifknown). Attach additional pages if needed.
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                    Defendant No. 1
                               Name                        Blake Steele

                               Job or Title (ifknown)      President and CEO

                               Street Address              Unit 1 - 1S7S2 Maiine Drive

                               City and County             White Rock, British Columbia
                               State and Zip Code          Canada V4B 1E6

                               Telephone Number            +1-303-790-7528

                               E-mail Address (ifknown)    info(a).azargauranium.com


                    Defendant No.2
                               Name

                               Job or Title (ifknown)
                               Street Address

                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (ifknown)


                    Defendant No.3

                               Name

                               Job or Title (ifknown)
                               Street Address

                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (ifknown)


                     Defendant No.4
                               Name
                               Job or Title (ifknown)
                               Street Address

                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (ifknown)
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Pro Se 2 ^cv. I2/16) Complaint and Request for Injunction


n.        Basis for Jurisdiction

          Federal courts are courts oflimited jurisdiction (limited power). Generally, only two types ofcases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship ofthe
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332,a case in which a citizen ofone State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity ofcitizenship case, no defendant may be a citizen ofthe same State as any plaintiff.

          What is the basis for federal courtJurisdiction? (check all that apply)
                ^ Federal question                                □ Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.        If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.

                      1851 Fort Laramie Treaty and 1868 Fort Laramie Treaty
                      Indian Reorganization Act of 1934 (25 US Code 478 and 5128)
                      U.S. Constitution - Article VI Supremacy Clause

          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.        The Plaintiff(s)

                               a.         If the plaintiff is an individual
                                          The plaintiff,                _____                                  , is a citizen of the
                                          State of (name)


                               b.         If the plaintiff is a corporation
                                          The plaintiff, (name)                                                ' incorporated
                                          under the laws of the State of (name)
                                          and has its principal place of business in the State of (name)



                                (Ifmore than oneplaintiffis namedin the complaint, attach an additionalpageproviding the
                                same informationfor each additionalplaintiff.)

                     2.         The Defendant(s)

                                a.        If the defendant is an individual

                                          The defendant (name)                                                 , is a citizen of
                                          the State of (name)                                              . Or is a citizen of
                                          (foreign nation)
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                               b.        Ifthe defendant is a corporation
                                         The defendant, (name)                                       ,is incorporated under
                                         the laws ofthe State of(name)                                         ,and has its
                                         principal place of business in the State of(name)
                                         Or is incorporated under the laws of(foreign nation)
                                         and has its principal place of business in (name)


                              (Ifmore than one defendant is named in the complaint, attach an additionalpage providing the
                              same informationfor each additional defendant.)

                    3.         The Amount in Controversy

                               The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                               stake-is more than $75,000, not counting interest and costs of court, because (explain):




ni.       Statement of Claim

          Write a short and plain statement ofthe claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights,
          including the dates and places ofthat involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement ofeach claim in a separate paragraph. Attach additional pages if
          needed.

          A.         Where did the events giving rise to your claim(s)occur?




          B.         What date and approximate time did the events giving rise to your claim(s) occur?
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          C.        What are the facts underlying your claim(s)? (Forexample: What happened to you? Whodidwhat?
                     Was anyone else involved? Who else saw what happened?)




IV.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result ofthe events described above, or why such compensation
          could not be measured.




V.        Relief


          State briefly and precisely what damages or other reliefthe plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts ofany actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed,the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
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VL        CerdScatioB aod

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
          nonfrivolous argument for extending, modifying,or revereing existing law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and(4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.        For Parties WItboat an Attorney

                    1 agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date ofsigning:


                    Si^iatiinc of Plaintiff                ^    ^
                    Prints Name ofPlaintilf                '% (^ ^             a    A

          B.        For Attonw^


                    Date of signing:


                    Signature of AttOTney
                    Printed Name of Attorney
                    Bar Number

                    Name of Law Firm

                    Street Address



                    Telephone Number
                    E-mail Address
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Additional Plantiff(s) named In this Complaint:


Vincent Black Feather                    111^
P.O. Box 212
Kyle, SD 57752


Henry Red Cloud
P.O. Box 1609
Pine Ridge, SD 57770


Richard Iron Cloud
P.O. Box 72
Porcupine, SD 57772
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JS44 (Rev. 06/17)                                                            CIVIL COVER SHEET
The JS 44 civii cover sheet and the information contained herein neither r^lace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided      local rules ofcourt. This form, approved by the Judicial Conference ofthe United States in September 1974, is requued for the use of the Clerk of Court for the
purpose ofinitiating the civil docket sheet. (SEEINSTRUCTIONS ON NEXTPAGE OF THIS FORM.)

I. (a) PLAINTIFFS                    .                 ^                         ^ rv.. n                       DEFENDANT^^^
                                 uiclU^

    (b) County of Residence of First Listed Plaintiff                                                           County of Residence of First Listed Defendant
                                (EXCEPTIN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.


    (c) Attorneys(Firm Name,Address, and Telephone Number)                                                       Attorneys (IfKnown)




11. BASIS OF JURISDICTION                                   "X'mOneBoxOnly)                       III. CITIZENSHIP OF PRINCIPAL PARTIES rP/oce<.n -X" m One Boxfor Plaint^
                                                                                                            (For Diversity Cases Only)                                          and One Box for Defendant)
O 1    U.S. Government                          Federal Question                                                                         RTF     DEF                                               PTF     DEF
          Plaintiff                               (U.S Government Not a Party)                         Citizen of This State             O I      O    I   Incorporated or Principal Place          □ 4     □ 4
                                                                                                                                                             of Business In This State

□ 2    U.S. Government                   □ 4    Diversity                                              Citizen of Another State          0 2      O    2   Incorporated and Principal Place         □ 5     O 5
          Defendant                               (Indicate Ciiizenship ofParties in Item III)                                                                of Business In Another State


                                                                                                       Citizen or Subject of a           □ 3      0    3   Foreign Nation                           □ 6     0 6
                                                                                                         Foreign Countrv

IV. NATURE OF SUIT (Place an "A"' w One Box Only)                                                                                                 Click here for: Nature of Suit Code Descriptions.
                                                                     TORTS
□ 110 Insurance                           PERSONAL INJURY                 PERSONAHNJURY                □ 625 Drug Related Seizure          □ 422 Appeal 28 use 158             O 375 False Claims Act
    120 Marine                       □ 310 Airplane                    □ 365 Personal Injury -               ofProperty21 use 881          □ 423 Withdrawal                    □ 376 Qui Tarn (31 USC
    130 Miller Act                   □ 315 Airplane Product                  Product Liability         □ 690 Other                                    28 use 157                     3729(a))
    140 Negotiable Instrument              Liability                   □ 367 Health Care/                                                                                      □ 400 State Reapportionment
    150 Recovety ofOverpayment       □ 320 Assault, Libel &                   Pharmaceutical                                                                                   □ 410 Antitrust
        & Enforcement of Judgment              Slander                        Personal Injuiy                                              □ 820 Copyrights                    □ 430 Banks and Banking
    151 Medicare Act                 □ 330 Federal Employers'                 Product Liability                                            □ 830 Patent                        □ 450 Commerce
    152 Recovery of Defaulted              Liability                   □ 368 Asbestos Personal                                             □ 835 Patent - Abbreviated          □ 460 Deportation
       Student Loans                 □ 340 Marine                              Injuiy Product                                                      New Dn^ Application         □ 470 Racketeer Influenced and
        (Excludes Veterans)          □ 345 Marine Product                      Liability                                                   □ 840 Trademark                               Corrupt Organizations
    153 Recovery ofOverpayment                 Liability                 PERSONAL PROPERTY                                                                                     □ 480 Consumer Credit
        ofVeteran's Benefits         □ 350 Motor Vehicle               □ 370 Other Fraud               □ 710 Fair Labor Standards          O 861 HlA(1395fE)                   □ 490 Cable/Sat TV
    160 Stockholders' Suits          □ 355 Motor Vehicle               □ 371 Truth in Lending                  Act                         O 862 Black Lung (923)              □ 850 Securities/Commodities/
    I90OtherContraa                            Product Liability       □ 380 Other Personal            □ 720 Labor/Management              □ 863 DIWC/DIWW (405(g))                      Exchange
    195 Contract Product Liability   □ 360 Other Personal                    Property Damage                   Relations                   □ 864 SSID Title XVI                □ 890 Other Statutory Actions
    196 Franchise                          Injury                      □ 385 Property Damage           O 740 Railway Labor Act             O 865 RSI (405(g))                  □ 891 Agricultural Acts
                                     □ 362 Personal Injury -                Product Liability          □ 751 Family and Medical                                                *^893 Environmental Matters
                                               Medical Malpractiee                                             Leave Act                                                       '□ 895 Freedom ofInformation
                                           CIVIL RIGHTS                 PRISONER PETmeWS               □ 790 Other Labor Litigation                                                      Act
□ 210 Land Condemnation              □    440 Other Civii Rights          Habeas Corpus:               □ 791 Employee Retirement           □ 870 Taxes (U.S. Plaintiff         □ 896 Atbitration
□ 220 Foreclosure                    □    441 Voting                   □ 463 Alien Detainee                   Income Security Act                 or Defendant)                □ 899 Administrative lYocedure
□ 230 Rent Lease & Ejectment         □    442 Employment               □ 510 Motions to Vacate                                             □ 871 IRS—Third Party                     Act/Review or Appeal of
□ 240 Torts to Land                  O    443 Housing/                        Sentence                                                                26 use 7609                    Agency Decision
□ 245 Tort Product Liability                   Accommodations          □ 530 General                                                                                           O 950 Constitutionality of
□ 290 All Other Real Property        □ 445 Amer. v»/Disabilities ■     □ 535 Death Penalty                    I IMMIGRATHMis                                                             State Statutes
                                               Employment                Other:                        □ 462 Naturalization Application
                                     □ 446 Amer. w/Disabilities        O 540 Mandamus & Other          □ 465 Other Immigration
                                               Other                   □ 550 Civil Rights                      Actions
                                     □ 448 Education                   □ 555 Prison Condition
                                                                       □ 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

v.. ORIGIN (Place an "X" m One Box Only)
       Oiiginal           □ 2 Removed from                  □ 3        Remanded from              □ 4 Reinstated or        OS Transferred from             O 6 Multidistrict               □ 8 Multidistrict
/      Proceeding               State Court                            Appellate Court                Reopened                Another District                 Litigation-                     Litigation-
                                                                                                                                                                    Transfer                     Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cUejurisdictionalstatutes unless diversity):

VI. CAUSE OF ACTION
                                           Brief description of cause:

VH. REQUESTED IN                           □ CHECK IF THIS IS A CLASS ACTION                              DEMANDS                                       CHECK YES only if demanded in complaint:
        COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:               ^Yes             aNo
VIII. RELATED CASE(S)
                                               (See instructions):
         IF ANY                                                        JUDGE                                                                    DOCKET NUMBER
DATE                                                                      SIGNATkfRKO              ORNEYOFP          ORD
      cn. ot^
FOR OFFICE USE ONLY

    RECEIPT#                     AMOUNT                                       APPLYING IFP                                       JUDGE                              MAG. JUDGE
                  Case 5:19-cv-05069-JLV Document 1 Filed 10/07/19 Page 9 of 9 PageID #: 9
JS 44 Reverse (Rev,06/17)


                   INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference ofthe United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows;

I.(a)   Plaintiffs-Defendants. Enter names (last, fust, middle initial) of plaintiff and defendant. Ifthe plaintiff or defendant is a government agency, use
        only the full name or standard abbreviations. If the plaintiff or defendant is an official within a goverrunent agency, identify first the agency and
        then the official, giving both name and title.
 (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name ofthe county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name ofthe county in which the first listed defendant resides at the time offiling. (NOTE: In land
        condemnation cases, the county of residence ofthe "defendant" is the location ofthe tract of land involved.)
 (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.     Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires thatjurisdictions be shown in pleadings. Place an "X"
        in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3)This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution ofthe United States, an amendment
        to the Constitution, an act of Congress or a treaty ofthe United Slates. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box 1 or 2 should be marked.
        Diversity of citizenship. (4)This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

III.    Residence (citizenship) of Principal Parties. This section ofthe JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. Ifthere are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one ofthe seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2)Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        When the petition for removal is granted, check this box.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date ofremand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5)For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
         Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
         Multidistrict Litigation - Direct File. (8)Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VT.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description ofthe cause. Do not cite jurisdictional
        statutes unless diversity. Example; U.S. Civil Statute; 47 USC 553 Brief Description; Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not ajury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
        numbers and the corresponding judge names for such cases.

Date and Attorney Signature.
                          E. Date and sign
                             uate ana sign the civil cover
                                           xne civii cover sneei.
                                                           sheet. /                               . ,




                                       ^ Qr1
